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                            UNITED STATES DISTRICT COURT
                              DISTRICT OF CONNECTICUT

 KATHRYN MORTENSEN, individually and                   Case No.
 on behalf of all others similarly situated,
                           Plaintiff,                  CLASS ACTION COMPLAINT
 v.
 YALE NEW HAVEN HEALTH
 SYSTEM,                                               PROPOSED CLASS ACTION
                           Defendant.



       Plaintiff Kathryn Mortensen, individually and on behalf of the Class defined below of

similarly situated persons (“Plaintiff and Class Members”), alleges the following against

Defendant Yale New Haven Health System, (“Defendant” or “Yale Health”). The following

allegations are based on Plaintiff’s knowledge, investigations by Plaintiff’s counsel, facts of public

record, and information and belief:

                                  NATURE OF THE ACTION

       1.      Plaintiff seeks to hold Yale Health responsible for the injuries it inflicted on

Plaintiff and over 5.5 million others due to Defendant’s wholly inadequate data security, which

resulted in the private information of Plaintiff and those similarly situated to be exposed to

unauthorized third parties (the “Data Breach”).

       2.      Yale Health is a nonprofit health system that includes five hospitals, a medical

foundation, various multispecialty centers and dozens of outpatient locations and ambulatory sites

from New York to Rhode Island.

       3.      The data that Yale Health exposed to the public is unique and highly sensitive. The

data exposed by the breach included personal identifying information (“PII”) and protected health

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information (“PHI”) like demographic information (e.g., name, date of birth, address, telephone

number, email address, race or ethnicity), Social Security number, patient type, and/or medical

record number (collectively “Private Information”).

       4.       Plaintiff and Class Members provided this information to Yale Health with the

understanding Yale Health would keep that information private in accordance with both state and

federal laws.

       5.       On March 8, 2025, Yale Health detected unusual activity on its information

technology system and was able to confirm that an authorized threat actor had accessed the Private

Information of Plaintiff and Class Members. The actual Data Breach occurred on March 8, 2025.

       6.       Among myriad industry standards and statutes for protection of sensitive

information, PHI is specifically governed by federal law under the Health Insurance Portability

and Accountability Act of 1996 (“HIPAA”) and its implementing regulations. HIPAA requires

entities like Yale Health to take appropriate technical, physical, and administrative safeguards to

secure the privacy of PHI, establishes national standards to protect PHI, and requires timely notice

of a breach of unencrypted PHI.

       7.       Instead of following these rules, however, Yale Health disregarded the rights of

Plaintiff and Class Members by intentionally, willfully, recklessly, and/or negligently failing to

implement reasonable measures to safeguard Private Information and by failing to take necessary

steps to prevent unauthorized disclosure of that information. Yale Health’s woefully inadequate

data security measures made the Data Breach a foreseeable, and even likely, consequence of its

negligence.

       8.       Exacerbating the injuries to Plaintiff and Class Members, Yale Health failed to

provide timely notice to Plaintiff and Class Members, depriving them of the chance to take speedy

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measures to protect themselves and mitigate harm.

        9.     Today, the Private Information of Plaintiff and Class Members continue to be in

jeopardy because of Defendant’s actions and inactions described herein. Plaintiff and Class

Members now suffer from a heightened and imminent risk of fraud and identity theft for years to

come and now must constantly monitor their medical and financial accounts for unauthorized

activity.

        10.    The PII and PHI exposed in the Data Breach can enable criminals to commit a litany

of crimes. Criminals can open new financial accounts in Class Members’ names, take out loans

using Class Members’ identities, use Class Members’ names to obtain medical services, use Class

Members’ health information to craft phishing and other hacking attacks based on Class Members’

individual health needs, use Class Members’ identities to obtain government benefits, file

fraudulent tax returns using Class Members’ information, obtain driver’s licenses in Class

Members’ names (but with another person’s photograph), and give false information to police

during an arrest.

        11.    As a direct and proximate result of the Data Breach, Plaintiff and Class Members

have suffered actual and present injuries, including but not limited to: (a) present, certainly

impending, and continuing threats of identity theft crimes, fraud, scams, and other misuses of their

Private Information; (b) diminution of value of their Private Information; (c) loss of benefit of the

bargain (price premium damages); (d) loss of value of privacy and confidentiality of the stolen

Private Information; (e) illegal sales of the compromised Private Information; (f) mitigation

expenses and time spent responding to and remedying the effects of the Data Breach; (g) identity

theft insurance costs; (h) “out of pocket” costs incurred due to actual identity theft; (i) credit

freezes/unfreezes; (j) anxiety, annoyance, and nuisance; (k) continued risk to their Private

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Information, which remains in Yale Health’s possession and is subject to further breaches so long

as Yale Health fails to undertake appropriate and adequate measures to protect Plaintiff’s and Class

Members’ Private Information; and (l) disgorgement damages associated with Yale Health’s

maintenance and use of Plaintiff’s data for its benefit and profit.

       12.     Through this action, Plaintiff seeks to remedy these injuries on behalf of herself

and all similarly situated individuals whose Private Information was exposed and compromised in

the Data Breach.

       13.     Plaintiff brings this action against Yale Health and asserts claims for negligence,

negligence per se, unjust enrichment, breach of fiduciary duty, breach of implied contract, and

declaratory/injunctive relief.

                                             PARTIES
       14.     Plaintiff Kathryn Mortensen is a natural person, resident, and citizen of Wilton,

Connecticut.

       15.     Defendant Yale New Haven Health System is a nonprofit health system with its

principal place of business located in New Haven, Connecticut.

                                 JURISDICTION AND VENUE

       16.     This Court has original jurisdiction under the Class Action Fairness Act, 28 U.S.C.

§ 1332(d)(2), because this is a class action involving more than 100 putative class members and

the amount in controversy exceeds $5,000,000, exclusive of interest and costs. And minimal

diversity is established because Plaintiff (and many members of the Nationwide Class) are citizens

of states different than Defendant.

       17.     This Court has general personal jurisdiction over Defendant because Defendant’s

principal place of business and headquarters are New Haven, Connecticut. Defendant also

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regularly conducts substantial business in Connecticut.

        18.    Venue is proper in this District under 28 U.S.C. §§ 1391(a)(2), 1391(b)(2), and

1391(c)(2) because substantial part of the events giving rise to the claims emanated from activities

within this District, and Defendant conducts substantial business in this District.

                               CLASS ACTION ALLEGATIONS

        19.    Plaintiff brings this class action individually and on behalf of all similarly situated

persons under Federal Rule of Civil Procedure 23. Plaintiff seeks certification under Federal Rule

of Civil Procedure 23(a), (b)(2), and (b)(3) of the following Nationwide Class (the “Class”):

        All persons in the United States whose Private Information was compromised in
        the Defendant’s Data Breach which occurred on March 8, 2025.

        20.    The Class defined above is readily ascertainable from information in Defendant’s

possession. Thus, such identification of Class Members will be reliable and administratively

feasible.

        21.    Excluded from the Class are: (1) any judge or magistrate presiding over this action

and members of their families; (2) Defendant, Defendant’s subsidiaries, parents, successors,

predecessors, affiliated entities, and any entity in which Defendant or their parent has a controlling

interest, and their current or former officers and directors; (3) persons who properly execute and

file a timely request for exclusion from the Class; (4) persons whose claims in this matter have

been finally adjudicated on the merits or otherwise released; (5) Plaintiff’s counsel and

Defendant’s counsel; (6) members of the jury; and (7) the legal representatives, successors, and

assigns of any such excluded persons.

        22.    Plaintiff reserves the right to amend or modify the Class definitions as this case

progresses.

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       23.    Plaintiff satisfies the numerosity, commonality, typicality, and adequacy

requirements under Fed. R. Civ. P. 23.

       24.    Numerosity. Class Members are numerous such that joinder is impracticable.

While the exact number of Class Members is unknown to Plaintiff at this time, based on

information and belief, the Class consists of the approximately 5.5 million individuals whose PII

and PHI were compromised by Defendant’s Data Breach.

       25.    Commonality. There are many questions of law and fact common to the Class.

And these common questions predominate over any individualized questions of individual Class

Members. These common questions of law and fact include, without limitation:

              a.      If Defendant unlawfully used, maintained, lost, or disclosed Plaintiff’s and

                      Class Members’ PII and PHI;

              b.      If Defendant failed to implement and maintain reasonable security

                      procedures and practices appropriate to the nature and scope of the

                      information compromised in the Data Breach;

              c.      If Defendant’s data security systems prior to and during the Data Breach

                      complied with applicable data security laws and regulations including, e.g.,

                      HIPAA;

              d.      If Defendant’s data security systems prior to and during the Data Breach

                      were consistent with industry standards;

              e.      If Defendant owed a duty to Class Members to safeguard their PII and PHI;

              f.      If Defendant breached its duty to Class Members to safeguard their PII and

                      PHI;

              g.      If Defendant knew or should have known that its data security systems and

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                     monitoring processes were deficient;

              h.     If Defendant should have discovered the Data Breach earlier;

              i.     If Defendant took reasonable measures to determine the extent of the Data

                     Breach after it was discovered;

              j.     If Defendant’s delay in informing Plaintiff and Class Members of the Data

                     Breach was unreasonable;

              k.     If Defendant’s method of informing Plaintiff and Class Members of the

                     Data Breach was unreasonable;

              l.     If Defendant’s conduct was negligent;

              m.     If Plaintiff and Class Members were injured as a proximate cause or result

                     of the Data Breach;

              n.     If Plaintiff and Class Members suffered legally cognizable damages as a

                     result of Defendant’s misconduct;

              o.     If Defendant breached implied contracts with Plaintiff and Class Members;

              p.     If Defendant was unjustly enriched by unlawfully retaining a benefit

                     conferred upon them by Plaintiff and Class Members;

              q.     If Defendant failed to provide notice of the Data Breach in a timely manner,

                     and;

              r.     If Plaintiff and Class Members are entitled to damages, civil penalties,

                     punitive damages, treble damages, and/or injunctive relief.

       26.    Typicality. Plaintiff’s claims are typical of those of other Class Members because

Plaintiff’s information, like that of every other Class Member, was compromised in the Data

Breach. Moreover, Plaintiff and Class Members were subjected to Defendant’s uniformly illegal

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and impermissible conduct.

        27.     Adequacy of Representation. Plaintiff will fairly and adequately represent and

protect the interests of the Members of the Class. Plaintiff’s counsel is competent and experienced

in litigating complex class actions. Plaintiff has no interests that conflict with, or are antagonistic

to, those of the Class.

        28.     Predominance. Defendant has engaged in a common course of conduct toward

Plaintiff and Class Members, in that Plaintiff’s and Class Members’ data was stored on the same

computer system and unlawfully exposed in the same way. The common issues arising from

Defendant’s conduct affecting Class Members set out above predominate over any individualized

issues. Adjudication of these common issues in a single action has important and desirable

advantages of judicial economy.

        29.     Superiority. A class action is superior to other available methods for the fair and

efficient adjudication of the controversy. Class treatment of common questions of law and fact is

superior to multiple individual actions or piecemeal litigation. Absent a class action, most Class

Members would likely find that the cost of litigating their individual claims is prohibitively high

and would therefore have no effective remedy. The prosecution of separate actions by individual

Class Members would create a risk of inconsistent or varying adjudications with respect to

individual Class Members, which would establish incompatible standards of conduct for

Defendant. In contrast, the conduct of this action as a Class action presents far fewer management

difficulties, conserves judicial resources, the parties’ resources, and protects the rights of each

Class Member.

        30.     The litigation of the claims brought herein is manageable. Defendant’s uniform

conduct, the consistent provisions of the relevant laws, and the ascertainable identities of Class

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Members demonstrates that there would be no significant manageability problems with

prosecuting this lawsuit as a class action.

       31.     Adequate notice can be given to Class Members directly using information

maintained in Defendant’s records.

       32.     Likewise, particular issues under Federal Rule of Civil Procedure 23(c)(4) are

appropriate for certification because such claims present only particular, common issues, the

resolution of which would advance the disposition of this matter and the parties’ interests therein.

Such particular issues include those set forth above.

       33.     Defendant has acted on grounds that apply generally to the Class as a whole, so that

Class certification, injunctive relief, and corresponding declaratory relief are appropriate on a

Class-wide basis.

                                  FACTUAL ALLEGATIONS

Defendant Collected and Stored the Private Information of Plaintiff and Class Members

       34.     Yale Health is a “a nonprofit health system that includes five acute-care hospitals,

a medical foundation, several multispecialty centers and dozens of outpatient locations and

ambulatory sites stretching from Westchester County, New York, to Westerly, Rhode Island.”1

       35.     Plaintiff and Class Members provided their Private Information to Yale Health as

a requirement to obtain medical services from Defendant.

       36.     Yale Health collects Private Information from Plaintiff and Class Members such as

their demographic information (e.g., name, date of birth, address, telephone number, email

address, race or ethnicity), Social Security number, patient type, and/or medical record number in



1
 Expert Care Close to Home, YALE HEALTH, https://www.ynhhs.org/ (last checked Apr. 30,
2025).
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the ordinary course of business. Upon information and belief, this Private Information is then

stored on Defendant’s systems.

       37.       Because of the highly sensitive and personal nature of the information Yale Health

acquires and stores, Yale Health knew or reasonably should have known that it must comply with

healthcare industry standards related to data security and all federal and state laws protecting

Private Information and provide adequate notice if Private Information is disclosed without proper

authorization.

       38.       Plaintiff and Class Members provided their Private Information to Yale Health as

a condition of receiving medical services from Yale Health, but in doing so, expected Yale Health

to keep their Private Information confidential and securely maintained, to use this information

for business and healthcare purposes only, and to make only authorized disclosures of this

information.

The Data Breach

       39.       On or about April 14, 2025, Yale Health, notified the public of the Data Breach in

an online “Notice of Data Security Incident” in which Yale Health informed the public of the

following:

       Yale New Haven Health (“Yale Health”) is committed to providing high-quality
       care to all of our patients, including maintaining the privacy and security of patient
       information. We recently experienced a data security incident that involved some
       of that information. This notice provides additional information about what
       happened, measures we have taken in response, and offers steps patients may
       consider taking.

       What Happened? On March 8, 2025, we identified unusual activity affecting our
       Information Technology (IT) systems. We immediately took steps to contain the
       incident and began an investigation, which included assistance from external
       cybersecurity experts. We also reported the incident to law enforcement. The
       investigation determined that an unauthorized third-party gained access to our
       network and, on March 8, 2025, obtained copies of certain data.

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       At no point did this incident impact our ability to provide patient care.

       What Information Was Involved? The information involved varied by patient,
       but may have included demographic information (such as name, date of birth,
       address, telephone number, email address, race or ethnicity), Social Security
       number, patient type, and/or medical record number.

       Yale Health’ electronic medical record and treatment information were not
       involved or accessed, and no financial account or payment information was
       involved in this incident.

       What Yale Health Is Doing & What Patients Can Do. Yale Health considers the
       health, safety, and privacy of patients our top priority. We are continuously
       updating and enhancing our systems to protect the data we maintain and to help
       prevent events such as this from occurring in the future.

       Beginning on April 14th, we are mailing letters to patients whose information was
       involved. While, to date, Yale Health is not aware of any patient information being
       used for identity theft or fraud, as a precaution, we are offering complimentary
       credit monitoring and identity protection services to individuals whose Social
       Security number was involved. Patients are also encouraged to review statements
       they receive from their healthcare providers and immediately report any
       inaccuracies to the provider.

       Yale Health has established a dedicated, toll-free call center that individuals may
       contact with questions about this incident. The call center is available at 1-855-549-
       2678, Monday through Friday, 9 am to 9 pm Eastern Time, excluding major U.S.
       holidays.

       We take our responsibility to safeguard patient information incredibly seriously,
       and we deeply regret any concern this incident may have caused.2

       40.     Upon information and belief, Plaintiff’s and Class Members’ affected Private

Information at the time of the Data Breach was accessible, unencrypted, unprotected, and

vulnerable for acquisition and/or exfiltration by unauthorized individuals.

       41.     Upon information and belief, Yale Health was a target due to its status as healthcare




2
 Notice of Data Security Incident, YALE HEALTH, https://www.ynhhs.org/legal-notices (last
checked Apr. 30, 2025).
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entity that collects, creates, and maintains Private Information.

       42.     The Notice of Data Security Incident gives no details to Plaintiff or Class Members

regarding the manner and means of how their Private Information was disclosed and leaves

Plaintiff and Class Members wondering how they can protect themselves.

       43.     Time is of the essence when highly sensitive Private Information is subject to

unauthorized access and/or acquisition. The disclosed, accessed, and/or acquired Private

Information of Plaintiff and Class Members is now likely available on the Dark Web. Hackers can

access and then offer for sale the unencrypted, unredacted Private Information to criminals.

       44.     Plaintiff and Class Members are now subject to the present and continuing risk of

fraud, identity theft, and misuse resulting from the possible publication of their Private

Information, especially their Social Security numbers and sensitive medical information, onto the

Dark Web. Plaintiff and Class Members face a lifetime risk of identity theft, which is heightened

here by unauthorized access, disclosure, and/or activity by cybercriminals on computer systems

containing hundreds of thousands of Social Security numbers and/or specific, sensitive medical

information.

       45.     Yale Health largely put the burden on Plaintiff and Class Members to take measures

to protect themselves from identity theft and fraud.

       46.     Seemingly Yale Health plans to offer at least some of those impacted by the Data

Breach credit monitoring services. Such measures, however, are insufficient to protect Plaintiff

and Class Members from the lifetime risks they each now face. As another element of damages,

Plaintiff and Class Members seek a sum of money sufficient to provide to Plaintiff and Class

Members identity theft protection services for their respective lifetimes.

       47.     Plaintiff and the Class Members remain in the dark regarding exactly what data

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was stolen, the particular method of disclosure, the results of any investigations, and what steps

are being taken, if any, to secure their Private Information going forward. Plaintiff and

Class Members are left to speculate as to the full impact of the Data Breach and how exactly

Defendant intends to enhance its information security systems and monitoring capabilities so

as to prevent further breaches.

       48.     Yale Health could have prevented the Data Breach by properly securing

and encrypting and/or more securely encrypting its servers and systems, generally, as well

as Plaintiff’s and Class Members’ Private Information.

       49.     Defendant’s negligence in safeguarding Plaintiff’s and Class Members’ PII

and PHI was exacerbated by repeated warnings and alerts directed to protecting and securing

sensitive data, as evidenced by the trending data breach attacks in recent years.

       50.     Time is a compensable and valuable resource in the United States. According to the

U.S. Bureau of Labor Statistics, 55.6% of U.S.-based workers are compensated on an hourly basis,

while the other 44.4% are salaried.3

       51.     According to the American Time Use Survey, American adults have between 4 to

6 hours of “leisure time” outside of work per day;4 examples of leisure time include partaking in

sports, exercise and recreation; socializing and communicating; watching TV; reading;

relaxing/thinking; playing games and computer use for leisure; and other leisure and sports




3
  Characteristics of minimum wage workers, 2022, U.S. BUREAU OF LABOR STATISTICS (Aug.
2023), https://www.bls.gov/opub/reports/minimum-wage/2022/home.htm (last checked Apr. 30,
2025).
4
  Erin Snodgrass, Americans have no idea how to use their free time, BUSINESS INSIDER (Mar.
26, 2024), https://www.businessinsider.com/americans-free-time-leisure-dont-use-television-
2024-3 (last checked Apr. 30, 2025).
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activities, including travel.5 Usually, this time can be spent at the option and choice of the

consumer, however, having been notified of the Data Breach, consumers now have to spend hours

of their leisure time self-monitoring their accounts, communicating with financial institutions and

government entities, and placing other prophylactic measures in place to attempt to protect

themselves.

       52.     Plaintiff and Class Members are deprived of the choice as to how to spend their

valuable free hours and therefore seek renumeration for the loss of valuable time as another

element of damages.

Healthcare Organizations Are a Prime Target for Cybercriminals

       53.     Healthcare organizations have become a main target for cybercriminals because

they “hold a massive amount of patient data — including medical records, financial information,

Social Security numbers, names and addresses. They’re also among the few businesses that stay

open 24/7, meaning they might be more likely to prioritize avoiding disruptions and, therefore,

more likely to pay a hacker’s ransom.”6

       54.     In the context of data breaches, healthcare is “by far the most affected industry

sector.”7 Further, cybersecurity breaches in the healthcare industry are particularly devastating,

given the frequency of such breaches and the fact that healthcare providers maintain highly




5
  Table 11A. Time spent in leisure and sports activities for the civilian population by selected
characteristics, averages per day, 2023 annual averages, U.S. BUREAU OF LABOR STATISTICS
(June 27, 2024), https://www.bls.gov/news.release/atus.t11A.htm (last checked Apr. 30, 2025).
6
  Elise Takahama, Why health care has become a top target for cybercriminals, THE SEATTLE
TIMES (Feb. 25, 2024), https://www.seattletimes.com/seattle-news/health/why-health-care-has-
become-a-top-target-for-cybercriminals/ (last checked Apr. 30, 2025).
7
  Rody Quinlan, Healthcare Security: Ransomware Plays a Prominent Role in COVID-19 Era
Breaches, TENABLE (Mar. 10, 2021), https://www.tenable.com/blog/healthcare-security-
ransomware-plays-a-prominent-role-in-covid-19-era-breaches (last checked Apr. 30, 2025).
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sensitive and detailed PII.8

       55.     Despite the prevalence of public announcements of data breaches and data

security compromises, Defendant failed to take appropriate steps to protect Plaintiff’s and

Class Members’ Private Information from being compromised.

       56.     Yale Health failed to properly train its employees as to cybersecurity best practices

and to maintain proper staffing and processes for responding to and preventing network intrusions.

       57.     Yale Health failed to implement sufficient processes to quickly detect and respond

to data breaches, security incidents, or intrusions.

       58.     Yale Health failed to encrypt Plaintiff’s and Class Members’ Private Information

and monitor user behavior and activity to identify possible threats.

       59.     Yale Health failed to provide fair, reasonable, or adequate computer systems and

data security practices to safeguard the Private Information of Plaintiff and Class Members.

       60.     Yale Health failed to timely and accurately disclose that Plaintiff’s and Class

Members’ PII and PHI had been improperly acquired or accessed.

       61.     Yale Health     knowingly disregarded standard information security principles,

despite obvious risks, by allowing unmonitored and unrestricted access to unsecured PII and PHI.

Defendant Failed to Comply with FTC Guidelines

       62.     According to the Federal Trade Commission (“FTC”), the need for data security

should be factored into all business decision-making.9 To that end, the FTC has issued numerous

guidelines identifying best data security practices that businesses, such as Defendant, should



8
 See id.
9
 Start with Security: A Guide for Business, FED. TRADE COMM’N (Aug. 2023),
https://www.ftc.gov/system/files/ftc_gov/pdf/920a_start_with_security_en_aug2023_508_final_
0.pdf (last checked Apr. 30, 2025).
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employ to protect against the unlawful exposure of PII and PHI.

       63.     In 2016, the FTC updated its publication, Protecting Personal Information: A Guide

for Business, which established guidelines for fundamental data security principles and practices

for business.10 The guidelines explain that businesses should:

               a.      protect the personal customer information that they keep;

               b.      properly dispose of personal information that is no longer needed;

               c.      encrypt information stored on computer networks;

               d.      understand their network’s vulnerabilities; and

               e.      implement policies to correct security problems.

       64.     The guidelines also recommend that businesses watch for large amounts of data

being transmitted from the system and have a response plan ready in the event of a breach.

       65.     The FTC recommends that companies not maintain PII and PHI longer than is

needed for authorization of a transaction; limit access to sensitive data; require complex passwords

to be used on networks; use industry-tested methods for security; monitor for suspicious activity

on the network; and verify that third-party service providers have implemented reasonable security

measures.11

       66.     The FTC has brought enforcement actions against businesses for failing to

adequately and reasonably protect customer data, treating the failure to employ reasonable and

appropriate measures to protect against unauthorized access to confidential consumer data as an




10
   Protecting Personal Information: A Guide for Business, FED. TRADE COMM’N (Oct. 2016),
https://bit.ly/3u9mzre (last checked Apr. 30, 2025).
11
   Start with Security: A Guide for Business, FED. TRADE COMM’N (Aug. 2023),
https://www.ftc.gov/system/files/ftc_gov/pdf/920a_start_with_security_en_aug2023_508_final_
0.pdf (last checked Apr. 30, 2025).
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unfair act or practice prohibited by Section 5 of the Federal Trade Commission Act (“FTCA”), 15

U.S.C. § 45. Orders resulting from these actions further clarify the measures businesses must take

to meet their data security obligations.

        67.    These FTC enforcement actions include actions against healthcare providers and

partners like Defendant. See, e.g., In the Matter of Labmd, Inc., A Corp, 2016-2 Trade Cas. (CCH)

¶ 79708, 2016 WL 4128215, at *32 (MSNET July 28, 2016) (“[T]he Commission concludes that

LabMD’s data security practices were unreasonable and constitute an unfair act or practice in

violation of Section 5 of the FTC Act.”).

        68.    Defendant’s failure to employ reasonable and appropriate measures to protect

against unauthorized access to Private Information constitutes an unfair act or practice prohibited

by Section 5 of the FTCA, 15 U.S.C. § 45.

Defendant Failed to Follow Industry Standards

        69.    Despite its alleged commitments to securing sensitive data, Yale Health does not

follow industry standard practices in securing Private Information.

        70.    As shown above, experts studying cyber security routinely identify healthcare

related entities as being particularly vulnerable to cyberattacks because of the value of the Private

Information which they collect and maintain.

        71.    Several best practices have been identified that at a minimum should be

implemented by healthcare entities like Defendant, including but not limited to, educating all

employees on the risks of cyber attacks; strong passwords; multi-layer security, including

firewalls, anti-virus, and anti-malware software; encryption, making data unreadable without a

key; multi-factor authentication; backup data; and limiting which employees can access sensitive

data.

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       72.     Other best cybersecurity practices that are standard in the healthcare industry

include installing appropriate malware detection software; monitoring and limiting the network

ports; protecting web browsers and email management systems; setting up network systems such

as firewalls, switches and routers; monitoring and protection of physical security systems;

protection against any possible communication system; training staff regarding critical points.

       73.     Upon information and belief, Yale Health failed to meet the minimum standards of

any of the following frameworks: the NIST Cybersecurity Framework Version 1.1 (including

without limitation PR.AC-1, PR.AC-3, PR.AC-4, PR.AC-5, PR.AC-6, PR.AC-7, PR.AT-1,

PR.DS-1, PR.DS-5, PR.PT-1, PR.PT-3, DE.CM-1, DE.CM-4, DE.CM-7, DE.CM-8, and RS.CO-

2), and the Center for Internet Security’s Critical Security Controls (CIS CSC), which are all

established standards in reasonable cybersecurity readiness.

       74.     Such frameworks are the existing and applicable industry standards in the

healthcare industry. And Yale Health failed to comply with these accepted standards, thus opening

the door to criminals and the Data Breach.

Defendant Violated HIPAA and HITECH

       75.     HIPAA circumscribes security provisions and data privacy responsibilities

designed to keep medical information safe. HIPAA compliance provisions, commonly known as

the Administrative Simplification Rules, establish national standards for electronic transactions

and code sets to maintain the privacy and security of protected health information.12

       76.     HIPAA provides specific privacy rules that require comprehensive administrative,



12
  HIPAA lists 18 types of information that qualify as PHI according to guidance from the
Department of Health and Human Services Office for Civil Rights, and includes, inter alia:
names, addresses, any dates including dates of birth, Social Security numbers, and medical
record numbers.
                                               18
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physical, and technical safeguards to ensure the confidentiality, integrity, and security of PII and

PHI is properly maintained.13

       77.     The Data Breach itself resulted from a combination of inadequacies showing

Defendant failed to comply with safeguards mandated by HIPAA. Defendant’s security failures

include, but are not limited to:

               a.      Failing to ensure the confidentiality and integrity of electronic PHI that it

                       creates, receives, maintains and transmits in violation of 45 C.F.R. §

                       164.306(a)(1);

               b.      Failing to protect against any reasonably-anticipated threats or hazards to

                       the security or integrity of electronic PHI in violation of 45 C.F.R. §

                       164.306(a)(2);

               c.      Failing to protect against any reasonably anticipated uses or disclosures of

                       electronic PHI that are not permitted under the privacy rules regarding

                       individually identifiable health information in violation of 45 C.F.R. §

                       164.306(a)(3);

               d.      Failing to ensure compliance with HIPAA security standards by

                       Defendant’s workforce in violation of 45 C.F.R. § 164.306(a)(4);

               e.      Failing to implement technical policies and procedures for electronic

                       information systems that maintain electronic PHI to allow access only to

                       those persons or software programs that have been granted access rights in



13
   See 45 C.F.R. § 164.306 (security standards and general rules); 45 C.F.R. § 164.308
(administrative safeguards); 45 C.F.R. § 164.310 (physical safeguards); 45 C.F.R. § 164.312
(technical safeguards).

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                      violation of 45 C.F.R. § 164.312(a)(1);

               f.     Failing to implement policies and procedures to prevent, detect, contain and

                      correct security violations in violation of 45 C.F.R. § 164.308(a)(1);

               g.     Failing to identify and respond to suspected or known security incidents and

                      failing to mitigate, to the extent practicable, harmful effects of security

                      incidents that are known to the covered entity in violation of 45 C.F.R. §

                      164.308(a)(6)(ii);

               h.     Failing to effectively train all staff members on the policies and procedures

                      with respect to PHI as necessary and appropriate for staff members to carry

                      out their functions and to maintain security of PHI in violation of 45 C.F.R.

                      § 164.530(b) and 45 C.F.R. § 164.308(a)(5); and

               i.     Failing to design, implement, and enforce policies and procedures

                      establishing physical and administrative safeguards to reasonably safeguard

                      PHI, in compliance with 45 C.F.R. § 164.530(c).

       78.     Defendant acknowledges in its “Notice of Privacy Practices” that the Private

Information collected by Defendant is subject to HIPAA’s requirements:

       We work hard to ensure the privacy of patients and maintain the confidentiality
       their information and medical records. Like all accredited healthcare institutions,
       we follow a federal law called the Health Insurance Portability and Accountability
       Act (HIPAA), which is designed to protect the privacy and confidentiality of patient
       information. We insist that our staff observe patient confidentiality – respecting
       your right to privacy about your medical records and experience at our hospital.

       [...]

       This notice describes how medical information about you may be used and
       disclosed and how you can get access to this information. Please review it carefully.
       If you have any questions, please contact our privacy office at the phone number at
       the bottom of this notice.

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       Our pledge to you:
       We understand that medical information about you is personal. We are committed
       to protecting medical information about you. We create a record of the care and
       services you receive to provide quality care and to comply with legal requirements.
       This notice applies to all of the records of your care generated by any of the separate
       facilities and providers described below. We are required by law to:

            Keep medical information about you private;
            Give you this notice of our legal duties and privacy practices with respect to
             medical information about you; and
            Follow the terms of the notice that is currently in effect.

       [...]
       Who will follow this notice?
       Yale New Haven Health System (Yale Health) and Yale School of Medicine
       (YSM) facilities provide health care to our patients in partnership with other
       professionals and healthcare organizations. The information privacy practices in
       this notice will be followed by:

            Any healthcare professional who treats you at any of our locations
            All departments and affiliated covered entities of Yale New Haven Health
             System, including; Bridgeport Hospital, Greenwich Hospital, Northeast
             Medical Group, Westerly Hospital, Lawrence + Memorial Hospital and Yale
             New Haven Hospital
            Yale School of Medicine
            The clinical care providers of Yale School of Nursing as well as their affiliates
            All employees, medical staff, affiliates, trainees, students, or volunteers of the
             entities listed above.14

       79.    Defendant also represents the following in a section of its website about the “Data

Security and Retention” of Plaintiff’s and Class Members’ Private Information:

       Yale Health follows all applicable laws governing the retention of your data.
       Factors that influence the length of time that we retain your data include: the
       information needed to provide products, services, and experiences to you; the data
       needed to manage your account, ensure secure payment, and contact you; and,
       finally, the data needed to serve any advertising based on personal interests and
       preferences.

       Yale Health makes every reasonable effort to ensure that all of the transactions that

14
   Notice of Privacy Practices, YALE HEALTH (last updated Sept. 10, 2019),
https://www.ynhhs.org/policies (last checked Apr. 30, 2025).
                                              21
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       occur on our websites are secure. We use a secure firewall and a security
       infrastructure that protects the integrity and privacy of personal information
       submitted to us via this website. We store all data with Secure Socket Layer (SSL)
       encryption to protect information you may submit on our Sites. SSL is the industry
       standard protocol. All off-line information is securely stored and is accessible only
       by authorized staff. That being said, Yale Health cannot ensure or warrant the
       security of any information you transmit to us, and you do so at your own risk. We
       have taken reasonable steps to ensure the integrity and confidentiality of personal
       data that you may provide. You should understand, however, that electronic
       transmissions via the internet are not necessarily secure from interception, and so
       we cannot absolutely guarantee the security or confidentiality of such
       transmissions.15


       80.     Defendant thus agrees that it will comply with HIPAA. The Data Breach, however,

which resulted from a combination of insufficiencies, demonstrates that Defendant indeed failed

to comply with safeguards mandated by HIPAA regulations.

       81.     Yale Health is also required to follow the regulations for safeguarding electronic

medical information pursuant to the Health Information Technology Act (“HITECH”). See 42

U.S.C. § 17921, 45 C.F.R. § 160.103.

       82.     Both HIPAA and HITECH obligate Yale Health to follow reasonable security

standards, respond to, contain, and mitigate security violations, and to protect against disclosure

of sensitive Private Information. See 45 C.F.R. § 164.306(a)(1) and § 164.306(a)(3); 45 C.F.R. §

164.530(f); 42 U.S.C. § 17902.

Plaintiff’s Experiences and Injuries Caused by the Data Breach

       83.     Plaintiff and Class Members are current and former patients of affiliated covered

entities of Yale Health.

       84.     As a prerequisite of being able to obtain medical care from Yale Health, Defendant



15
  Online Privacy Policies, YALE HEALTH, https://www.ynhhs.org/policies/online-privacy (last
checked Apr. 30, 2025).
                                            22
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required Plaintiff and Class Members to provide their Private Information.

       85.     Yale Health began notifying Plaintiff and Class Members about the Data Breach on

or around April 14, 2025.

       86.     When Yale Health finally announced the Data Breach, it deliberately underplayed

the severity and obfuscated the nature of the Data Breach. Defendant’s Data Breach notice fails to

adequately explain how the breach occurred, what exact data elements of each affected individual

were compromised, and the extent to which those data elements were compromised.

       87.     Because of the Data Breach, Defendant inflicted injuries upon Plaintiff and Class

Members. And yet, Defendant has done little to provide Plaintiff and the Class Members with

relief for the damages they suffered.

   A. Plaintiff Kathryn Mortensen

       88.     Plaintiff Kathryn Mortensen is an adult individual and a natural person of

Connecticut, residing in Wilton, where she intends to stay.

       89.     Plaintiff received medical care at an affiliated hospital of Defendant.

       90.     Yale Health obtained Plaintiff’s information as a prerequisite for Plaintiff to obtain

medical care from Yale Health. Yale Health collects and maintains personal and sensitive

information of its patients, such as Plaintiff, in order to provide medical care.

       91.     Plaintiff received from Yale Health a Data Breach notice letter, dated April 14,

2025. This notice received by Plaintiff is substantively similar to the online breach notice posted

on Yale Health’s website.

       92.     The paper Data Breach notice letter informed Plaintiff that the following data types

of hers were compromised in the Data Breach: demographic information (e.g., name, date of birth,

address, telephone number, email address, race or ethnicity), and/or medical record number.

                                                 23
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       93.     In the paper Data Breach notice letter, Yale Health claims that the following data

types were not affected: Social Security number, electronic medical record and treatment

information, and financial account or payment information.

       94.     Plaintiff is a reasonably cautious person and is therefore careful about sharing her

sensitive Private Information. As a result, she has never knowingly transmitted unencrypted

sensitive PII over the internet or any other unsecured source. Plaintiff stores any documents

containing her sensitive PII in a safe and secure location or destroys the documents. Moreover,

Plaintiff diligently chooses unique usernames and passwords for her various online accounts,

changing and refreshing them as needed to ensure her information is as protected as it can be.

When it is available to her Plaintiff uses two-factor or multifactor authentication to add an extra

layer of security to her Private Information.

       95.     Plaintiff only allowed Defendant to maintain, store, and use her Private Information

because she believed that Defendant would use basic security measures to protect her Private

Information, such as requiring passwords and multi-factor authentication to access databases

storing her Private Information. As a result, Plaintiff’s Private Information was within the

possession and control of Defendant at the time of the Data Breach.

       96.     In the instant that her Private Information was accessed and obtained by a third

party without her consent or authorization, Plaintiff suffered injury from a loss of privacy.

       97.     Plaintiff has been further injured by the damages to and diminution in value of her

Private Information—a form of intangible property that Plaintiff entrusted to Defendant. This

information has inherent value that Plaintiff was deprived of when her Private Information was

placed on a publicly accessible database, and exfiltrated by cybercriminals

       98.     The Data Breach has also caused Plaintiff to suffer imminent and impending injury

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arising from the substantially increased risk of additional future fraud, identity theft, and misuse

resulting from her Private Information being placed in the hands of criminals.

          99.    As a result of the actual harm she has suffered and the increased imminent risk of

future harm, Plaintiff has spent approximately ten (10) hours since the Data Breach assessing

whether text messages, emails and phone calls are spam, combing through her financial accounts

and records, billing statements, and consumer credit accounts to stay vigilant against potential

fraud or identity theft. This time, which has been lost forever and cannot be recaptured, was spent

at Defendant’s direction.

          100.   The substantial risk of imminent harm and loss of privacy have caused Plaintiff to

suffer stress, fear, and anxiety. Plaintiff has a continuing interest in ensuring that Plaintiff’s Private

Information, which, upon information and belief, remains backed up in Defendant’s possession, is

protected, and safeguarded from future breaches.

Plaintiff and the Class Face Significant Risk of Present and Continuing Identity Theft

          101.   Plaintiff and Class Members suffered injury from the misuse of their PII and PHI

that can be directly traced to Defendant.

          102.   The ramifications of Defendant’s failure to keep Plaintiff’s and the Class’s PII and

PHI secure are severe. Identity theft occurs when someone uses another’s personal and financial

information such as that person’s name, account number, Social Security number, driver’s license

number, date of birth, and/or other information, without permission, to commit fraud or other

crimes.

          103.   In 2021, 32% of persons aged 16 or older who received breach notification were




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victims of multiple types of identity theft.16

       104.    As a result of Defendant’s failures to prevent—and to timely detect—the Data

Breach, Plaintiff and Class Members suffered and will continue to suffer damages, including

monetary losses, lost time, anxiety, and emotional distress. They have suffered or are at an

increased risk of suffering:

               a.      The loss of the opportunity to control how their PII and PHI is used;

               b.      The diminution in value of their PII and PHI;

               c.      The compromise and continuing publication of their PII and PHI;

               d.      Out-of-pocket costs associated with the prevention, detection, recovery, and

                       remediation from identity theft or fraud;

               e.      Lost opportunity costs and lost wages associated with the time and effort

                       expended addressing and attempting to mitigate the actual and future

                       consequences of the Data Breach, including, but not limited to, efforts spent

                       researching how to prevent, detect, contest, and recover from identity theft

                       and fraud;

               f.      Delay in receipt of tax refund monies;

               g.      Unauthorized use of stolen PII and PHI; and

               h.      The continued risk to their PII and PHI, which remains in the possession of

                       Defendant and is subject to further breaches so long as Defendant fails to

                       undertake the appropriate measures to protect the PII and PHI in their


16
  Erika Harrell, PhD, Data Breach Notifications and Identity Theft, 2021, U.S. BUREAU OF
JUSTICE STATISTICS (Jan. 2024), https://bjs.ojp.gov/data-breach-notifications-and-identity-theft-
2021 (last checked Apr. 30, 2025).


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                       possession.

       105.    Stolen PII and PHI is one of the most valuable commodities on the criminal

information black market. According to Prey, a company that develops device tracking and

recovery software, stolen PII and PHI can be worth up to $2,000.00 depending on the type of

information obtained.17

       106.    The value of Plaintiff’s and the Class’s Private Information on the black market is

considerable. Stolen PII and PHI trades on the black market for years, and criminals frequently

post stolen information of a private nature openly and directly on various “dark web” internet

websites, making the information publicly available, for a substantial fee of course.

       107.    It can take victims years to spot or identify PII and PHI theft, giving criminals

plenty of time to milk that information for cash.

       108.    One such example of criminals using PII and PHI for profit is the development of

“Fullz” packages.18

       109.    Cyber-criminals can cross-reference two sources of PII and PHI to marry

unregulated data available elsewhere to criminally stolen data with an astonishingly complete


17
   Juan Hernandez, Dark web: lifecycle of stolen credentials explored, PREY (Feb. 26, 2024),
https://preyproject.com/blog/lifecycle-stolen-credentials-dark-web (last checked Apr. 30, 2025).
18
   “Fullz” is a term used by fraudsters for data that includes the information of the victim,
including, but not limited to, the name, address, credit card information, social security number,
date of birth, and more. As a rule of thumb, the more information you have on a victim, the more
money can be made off those credentials. Fullz are usually pricier than standard credit card
credentials, commanding up to $100 per record or more on the dark web. Fullz can be cashed out
(turning credentials into money) in various ways, including performing bank transactions over
the phone with the required authentication details in-hand. Even “dead Fullz”, which are Fullz
credentials associated with credit cards that are no longer valid, can still be used for numerous
purposes, including tax refund scams, ordering credit cards on behalf of the victim, or opening a
“mule account” (an account that will accept a fraudulent money transfer from a compromised
account) without the victim’s knowledge. See, e.g., Brian Krebs, Medical Records For Sale in
Underground Stolen From Texas Life Insurance Firm, KREBS ON SEC. (Sep. 18, 2014),
https://krebsonsecurity.com/tag/fullz/ (last checked Apr. 30, 2025).
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scope and degree of accuracy in order to assemble complete dossiers on individuals. These dossiers

are known as “Fullz” packages.

       110.    The development of “Fullz” packages means that stolen PII and PHI from the Data

Breach can easily be used to link and identify it to Plaintiff and the proposed Class’s phone

numbers, email addresses, and other unregulated sources and identifiers. In other words, even if

certain information such as emails, phone numbers, or credit card numbers may not be included in

the PII and PHI stolen by the cyber-criminals in the Data Breach, criminals can easily create a

Fullz package and sell it at a higher price to unscrupulous operators and criminals (such as illegal

and scam telemarketers) over and over. That is exactly what is happening to Plaintiff and members

of the proposed Class, and it is reasonable for any trier of fact, including this Court or a jury, to

find that Plaintiff’s and other members of the proposed Class’s stolen PII and PHI is being misused,

and that such misuse is fairly traceable to the Data Breach.

       111.    According to the FBI’s Internet Crime Complaint Center (IC3) 2023 Internet Crime

Report, Internet-enabled crimes reached their highest number of complaints and dollar losses that

year, resulting in more than $12.5 billion in losses to individuals and business victims.19

       112.    Victims of identity theft also often suffer embarrassment, blackmail, or harassment

in person or online, and/or experience financial losses resulting from fraudulently opened accounts

or misuse of existing accounts.

       113.    In addition to out-of-pocket expenses that can exceed thousands of dollars and the

emotional toll identity theft can take, some victims have to spend a considerable time repairing the




19
   2023 Internet Crime Report, FED. BUREAU OF INVESTIG. (2023),
https://www.ic3.gov/Media/PDF/AnnualReport/2023_IC3Report.pdf (last checked Apr. 30,
2025).
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damage caused by the theft of their PII and PHI. Victims of new account identity theft will likely

have to spend time correcting fraudulent information in their credit reports and continuously

monitor their reports for future inaccuracies, close existing bank/credit accounts, open new ones,

and dispute charges with creditors.

       114.    The FTC has also recognized that consumer data is a new and valuable form of

currency. In an FTC roundtable presentation, former Commissioner Pamela Jones Harbour stated

that “most consumers cannot begin to comprehend the types and amount of information collected

by businesses, or why their information may be commercially valuable. Data is currency.”20

       115.    The FTC has issued numerous guidelines for businesses that highlight the

importance of reasonable data security practices. The FTC has noted the need to factor data

security into all business decision-making.21 According to the FTC, data security requires: (1)

controlling access to data sensibly; (2) requiring secure passwords and authentication; (3) storing

sensitive information securely and protecting it during transmission; (4) segmenting networks and

monitoring who is trying to get in and out; (5) securing remote access to networks; (6) applying

sound security practices when developing new products; (7) ensuring that third-party service

providers implement reasonable security measures; (8) putting in place procedures to keep security

current and address potential vulnerabilities; and (9) securing paper, physical media, and devices.22

       116.    According to the FTC, unauthorized PII and PHI disclosures are extremely



20
   Commissioner Pamela Jones Harbour: Remarks Before FTC Exploring Privacy Roundtable,
FED. TRADE COMM’N (Dec. 7, 2009),
https://www.ftc.gov/sites/default/files/documents/public_statements/remarks-ftc-exploring-
privacy-roundtable/091207privacyroundtable.pdf (last checked Apr. 30, 2025).
21
   Start With Security, A Guide for Business, FED. TRADE COMM’N (Aug. 2023),
https://www.ftc.gov/system/files/ftc_gov/pdf/920a_start_with_security_en_aug2023_508_final_
0.pdf (last checked Apr. 30, 2025).
22
   Id.
                                                29
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damaging to consumers’ finances, credit history and reputation, and can take time, money, and

patience to resolve the fallout.23 The FTC treats the failure to employ reasonable and appropriate

measures to protect against unauthorized access to confidential consumer data as an unfair act or

practice prohibited by Section 5(a) of the FTCA.

       117.    To that end, the FTC has issued orders against businesses that failed to employ

reasonable measures to secure sensitive payment card data. See In the matter of Lookout Services,

Inc., No. C-4326, ⁋ 7 (June 15, 2011) (“[Defendant] allowed users to bypass authentication

procedures” and “failed to employ sufficient measures to detect and prevent unauthorized access

to computer networks, such as employing an intrusion detection system and monitoring system

logs.”); In the matter of DSW, Inc., No. C-4157, ⁋ 7 (Mar. 7, 2006) (“[Defendant] failed to employ

sufficient measures to detect unauthorized access.”); In the matter of The TJX Cos., Inc., No. C-

4227 (Jul. 29, 2008) (“[R]espondent stored . . . personal information obtained to verify checks and

process unreceipted returns in clear text on its in-store and corporate networks[,]” “did not require

network administrators . . . to use different passwords to access different programs, computers,

and networks[,]” and “failed to employ sufficient measures to detect and prevent unauthorized

access to computer networks . . .”); In the matter of Dave & Buster’s Inc., No. C-4291 (May 20,

2010) (“[Defendant] failed to monitor and filter outbound traffic from its networks to identify and

block export of sensitive personal information without authorization” and “failed to use readily

available security measures to limit access between instore networks . . .”). These orders, which

all preceded the Data Breach, further clarify the measures businesses must take to meet their data

security obligations. Defendant thus knew or should have known that its data security protocols


23
  See Taking Charge, What to Do If Your Identity is Stolen, FED. TRADE COMM’N, at 3 (Jan.
2012), https://www.ojp.gov/ncjrs/virtual-library/abstracts/taking-charge-what-do-if-your-
identity-stolen (last checked Apr. 30, 2025).
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were inadequate and were likely to result in the unauthorized access to and/or theft of PII and PHI.

       118.    Healthcare organizations have become a main target for cybercriminals because

they “hold a massive amount of patient data — including medical records, financial information,

Social Security numbers, names and addresses. They’re also among the few businesses that stay

open 24/7, meaning they might be more likely to prioritize avoiding disruptions and, therefore,

more likely to pay a hacker’s ransom.”24

       119.    Charged with handling highly sensitive PII and PHI including healthcare

information, financial information, and insurance information, Defendant knew or should have

known the importance of safeguarding the PII and PHI that was entrusted to it. Defendant also

knew or should have known of the foreseeable consequences if its data security systems were

breached. Defendant nevertheless failed to take adequate cybersecurity measures to prevent the

Data Breach from occurring.

       120.    Defendant’s use of outdated and insecure computer systems and software that are

easy to hack, and its failure to maintain adequate security measures and an up-to-date technology

security strategy, demonstrates a willful and conscious disregard for privacy, and has exposed the

PII and PHI of Plaintiff and over 5.5 million members of the proposed Class to unscrupulous

operators, con artists, and outright criminals.

                                      CLAIMS FOR RELIEF

                                 I. FIRST CAUSE OF ACTION
                                          Negligence
                       (On Behalf of Plaintiff and the Nationwide Class)

       121.    Plaintiff re-alleges and incorporates by reference the foregoing paragraphs of the


24
  Elise Takahama, Why health care has become a top target for cybercriminals, THE SEATTLE
TIMES (Feb. 25, 2024), https://www.seattletimes.com/seattle-news/health/why-health-care-has-
become-a-top-target-for-cybercriminals/ (last checked Apr. 30, 2025).
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Complaint as if fully set forth herein.

       122.    Defendant required Plaintiff and Class Members to provide Defendant with Private

Information in order to receive Defendant’s products and services.

       123.    By collecting and storing this data in its computer system and network, and sharing

it and using it for commercial gain, Defendant owed a duty of care to use reasonable means to

secure and safeguard their computer system—and Plaintiff’s and Class Members’ Private

Information held within it—to prevent disclosure of the information, and to safeguard the

information from theft. Defendant’s duty included a responsibility to implement processes so they

could detect a breach of its security systems in a reasonably expeditious period of time and to give

prompt notice to those affected in the case of a data breach.

       124.    The risk that unauthorized persons would attempt to gain access to the Private

Information and misuse it was foreseeable. Given that Defendant holds vast amounts of PII and

PHI, it was inevitable that unauthorized individuals would at some point try to access Defendant’s

databases of PII and PHI.

       125.    After all, Private Information is highly valuable, and Defendant knew, or should

have known, the risk in obtaining, using, handling, emailing, and storing the PII and PHI of

Plaintiff and Class Members. Thus, Defendant knew, or should have known, the importance of

exercising reasonable care in handling the PII and PHI entrusted to it.

       126.    Defendant owed a duty of care to Plaintiff and Class Members to provide data

security consistent with industry standards and other requirements discussed herein, and to ensure

that its systems and networks, and the personnel responsible for them, adequately protected the PII

and PHI.

       127.    Defendant’s duty of care to use reasonable security measures arose because of the

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special relationship that existed between Defendant and Plaintiff and Class Members, which is

recognized by laws and regulations including but not limited to HIPAA, as well as common law.

Defendant was in a superior position to ensure that its systems were sufficient to protect against

the foreseeable risk of harm to Class Members from a data breach.

       128.    Defendant failed to take appropriate measures to protect the PII and PHI of Plaintiff

and the Class. Defendant is morally culpable, given the prominence of security breaches in the

healthcare industry. Any purported safeguards that Defendant had in place were wholly

inadequate.

       129.    Defendant breached its duty to exercise reasonable care in safeguarding and

protecting Plaintiff’s and the Class Members’ PII and PHI by failing to adopt, implement, and

maintain adequate security measures to safeguard that information, despite known data breaches

in the healthcare industry, and allowing unauthorized access to Plaintiff’s and the other Class

Members’ PII and PHI.

       130.    The failure of Defendant to comply with industry and federal regulations evinces

Defendant’s negligence in failing to exercise reasonable care in safeguarding and protecting

Plaintiff’s and Class Members’ PII and PHI.

       131.    But for Defendant’s wrongful and negligent breach of their duties to Plaintiff and

the Class, Private Information would not have been compromised, stolen, and viewed by

unauthorized persons. Defendant’s negligence was a direct and legal cause of the theft of the PII

and PHI of Plaintiff and the Class and all resulting damages.

       132.    The injury and harm suffered by Plaintiff and Class Members was the reasonably

foreseeable result of Defendant’s failure to exercise reasonable care in safeguarding and protecting

Plaintiff’s and the other Class members’ PII and PHI. Defendant knew or should have known that

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its systems and technologies for processing and securing the PII and PHI of Plaintiff and the Class

had security vulnerabilities.

         133.   As a result of this misconduct by Defendant, the PII, PHI, and other sensitive

information of Plaintiff and the Classes was compromised, placing them at a greater risk of identity

theft and their PII and PHI being disclosed to third parties without the consent of Plaintiff and the

Class.

         134.   As a direct and proximate result of Defendant’s negligence, Plaintiff and the Class

have suffered and will suffer injury, including but not limited to: (i) the actual misuse of their

compromised Private Information; (ii) lost or diminished value of Private Information; (iii) lost

time and opportunity costs associated with attempting to mitigate the actual consequences of the

Data Breach; (iv) loss of benefit of the bargain; (v) an increase in spam calls, texts, and/or emails

(vi) the continued and certainly increased risk to their Private Information, which: (a) remains

unencrypted and available for unauthorized third parties to access and abuse; and (b) remains

backed up in Defendant’s possession and is subject to further unauthorized disclosures so long as

Defendant fails to undertake appropriate and adequate measures to protect the Private Information;

(vii) future costs in terms of time, effort and money that will be expended to prevent, detect,

contest, and repair the inevitable and continuing consequences of compromised PII/PHI for the

rest of their lives; (viii) the present value of ongoing credit monitoring and identity defense services

necessitated by Defendant’s data breach; (ix) the value of the unauthorized access to their PII/PHI

permitted by Defendant; and (x) any nominal damages that may be awarded.

         135.   As a direct and proximate result of Defendant’s negligence, Plaintiff and the Class

have suffered and will continue to suffer other forms of injury and/or harm, including, but not

limited to, anxiety, emotional distress, loss of privacy, and other economic and non-economic

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losses including nominal damages.

       136.    Defendant’s negligent conduct is ongoing, in that it still possesses Plaintiff’s and

Class Members’ Private Information in an unsafe and insecure manner.

       137.    As a direct and proximate result of Defendant’s negligence, Plaintiff and Class

Members are entitled to damages, including compensatory, punitive, and nominal damages, in an

amount to be proven at trial.

                                II.
                                  SECOND CAUSE OF ACTION
                                      Negligence Per Se
                       (On Behalf of Plaintiff and the Nationwide Class)

       138.    Plaintiff re-alleges and incorporates by reference the foregoing paragraphs of the

Complaint as if fully set forth herein.

       139.    Defendant had duties arising under HIPAA (including the Privacy Rule and

Security Rule), HITECH, and the FTCA to protect Plaintiff’s and Class Members’ Private

Information.

       140.    Defendant breached its duties, pursuant to the FTCA and other applicable

standards, and thus was negligent, by failing to use reasonable measures to protect Plaintiff’s and

Class Members’ Private Information. The specific negligent acts and omissions committed by

Defendant include, but are not limited to, the following: (i) failing to adopt, implement, and

maintain adequate security measures to safeguard Class Members’ Private Information; (ii) failing

to adequately monitor the security of its networks and systems; (iii) allowing unauthorized access

to Class Members’ Private Information; (iv) failing to detect in a timely manner that Class

Members’ Private Information had been compromised; (v) failing to remove Private Information

it was no longer required to retain pursuant to regulations; and (vi) failing to timely and adequately

notify Class Members about the Data Breach’s occurrence and scope, so that they could take

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appropriate steps to mitigate the potential for identity theft and other damages.

       141.    Defendant’s violation of HIPAA, HITECH, and Section 5 of the FTCA (and similar

state statutes) constitutes negligence per se.

       142.    Plaintiff and Class Members are consumers within the class of persons that HIPAA,

HITECH, and Section 5 of the FTCA were intended to protect.

       143.    The harm that has occurred is the type of harm HIPAA, HITECH, and the FTCA

were intended to guard against.

       144.    The FTC has pursued enforcement actions against businesses and healthcare

entities that, as a result of their failure to employ reasonable data security measures and avoid

unfair and deceptive practices, caused the same harm as that suffered by Plaintiff and the Class.

       145.    Defendant breached its duties to Plaintiff and Class Members by failing to provide

fair, reasonable, or adequate computer systems and data security practices to safeguard Plaintiff’s

and Class Members’ Private Information.

       146.    Plaintiff and Class Members were foreseeable victims of Defendant’s violations of

HIPAA, HITECH, and the FTCA. Defendant knew or should have known that its failure to

implement reasonable data security measures to protect and safeguard Plaintiff’s and Class

Members’ Private Information would cause damage to Plaintiff and the Class.

       147.    As a direct and proximate result of Defendant’s negligence per se, Plaintiff and the

Class have suffered and will suffer injury, including but not limited to: (i) the actual misuse of

their compromised Private Information; (ii) lost or diminished value of Private Information; (iii)

lost time and opportunity costs associated with attempting to mitigate the actual consequences of

the Data Breach; (iv) loss of benefit of the bargain; (v) an increase in spam calls, texts, and/or

emails; and (vi) the continued and certainly increased risk to their Private Information, which: (a)

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remains unencrypted and available for unauthorized third parties to access and abuse; and (b)

remains backed up in Defendant’s possession and is subject to further unauthorized disclosures so

long as Defendant fails to undertake appropriate and adequate measures to protect the Private

Information.

          148.   As a direct and proximate result of Defendant’s negligence per se Plaintiff and the

Class have suffered and will continue to suffer other forms of injury and/or harm, including, but

not limited to, anxiety, emotional distress, loss of privacy, and other economic and non-economic

losses.

          149.   Finally, as a direct and proximate result of Defendant’s negligence per se, Plaintiff

and the Class have suffered and will suffer the continued risks of exposure of their Private

Information, which remain in Defendant’s possession and is subject to further unauthorized

disclosures so long as Defendant fails to undertake appropriate and adequate measures to protect

the Private Information in its continued possession.

          150.   As a direct and proximate result of Defendant’s negligence per se, Plaintiff and

Class Members are entitled to damages, including compensatory, punitive, and nominal damages,

in an amount to be proven at trial.

                               III.  THIRD CAUSE OF ACTION
                                       Unjust Enrichment
                        (On Behalf of Plaintiff and the Nationwide Class)

          151.   Plaintiff re-alleges and incorporates by reference the foregoing paragraphs of the

Complaint as if fully set forth herein.

          152.   Plaintiff and Class Members conferred a benefit on Defendant by entrusting their

Private Information to Yale Health from which Yale Health derived profits.

          153.   Defendant enriched itself by saving the costs they reasonably should have expended

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on data security measures to secure Plaintiff’s and Class Members’ PII and PHI. Instead of

providing a reasonable level of security that would have prevented the Data Breach, Defendant

instead calculated to avoid its data security obligations at the expense of Plaintiff and Class

Members by utilizing cheaper, ineffective security measures. Plaintiff and Class Members, on the

other hand, suffered as a direct and proximate result of Defendant’s failure to provide adequate

security.

       154.    Under the principles of equity and good conscience, Defendant should not be

permitted to retain the money belonging to Plaintiff and Class Members, because Defendant failed

to implement appropriate data management and security measures that are mandated by industry

standards.

       155.    Defendant acquired the PII and PHI through inequitable means in that Defendant

failed to disclose the inadequate security practices, previously alleged, and failed to maintain

adequate data security.

       156.    If Plaintiff and Class Members knew that Defendant had not secured their PII and

PHI, they would not have agreed to disclose their data to Defendant.

       157.    Plaintiff and Class Members have no adequate remedy at law.

       158.    As a direct and direct an proximate result of Yale Health’s conduct, Plaintiff and

the Class have suffered and will suffer injury, including but not limited to: (i) the actual misuse of

their compromised Private Information; (ii) lost or diminished value of Private Information; (iii)

lost time and opportunity costs associated with attempting to mitigate the actual consequences of

the Data Breach; (iv) loss of benefit of the bargain; (v) an increase in spam calls, texts, and/or

emails; (vi) the continued and certainly increased risk to their Private Information, which: (a)

remains unencrypted and available for unauthorized third parties to access and abuse; and (b)

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remains backed up in Yale Health’s possession and is subject to further unauthorized disclosures

or further entrustment to inadequate third party vendors so long as Yale Health fails to undertake

appropriate and adequate measures to protect the Private Information; (vii) future costs in terms of

time, effort and money that will be expended to prevent, detect, contest, and repair the inevitable

and continuing consequences of compromised PII/PHI for the rest of their lives; (viii) the present

value of ongoing credit monitoring and identity defense services necessitated by Yale Health’s

data breach; (ix) the value of the unauthorized access to their PII/PHI permitted by Defendant; and

(x) any nominal damages that may be awarded.

       159.     Plaintiff and Class Members are entitled to restitution and/or damages from Yale

Health and/or an order proportionally disgorging all profits, benefits, and other compensation

obtained by Yale Health from its wrongful conduct, as well as return of their sensitive Private

Information and/or confirmation that it is secure. This can be accomplished by establishing a

constructive trust from which the Plaintiff and Class Members may seek restitution or

compensation.

       160.     Plaintiff and Class Members may not have an adequate remedy at law against Yale

Health, and accordingly, they plead this claim for unjust enrichment in addition to, or in the

alternative to, other claims pleaded herein.

                             IV.  FOURTH CAUSE OF ACTION
                                  Breach of Fiduciary Duty
                       (On Behalf of Plaintiff and the Nationwide Class)

       161.     Plaintiff re-alleges and incorporates by reference the foregoing paragraphs of the

Complaint as if fully set forth herein.

       162.     A relationship existed between Plaintiff, the Class Members, and Defendant, which

arose from Defendant’s acceptance of Plaintiff’s and the Class Members’ PII and PHI and

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Defendant’s representations of its commitment to protect said PII and PHI.

       163.    Yale Health became the guardian of Plaintiff’s and Class Members’ Private

Information. Yale Health became a fiduciary, created by its undertaking and guardianship of

Plaintiff’s and Class Members’ Private Information, to act primarily for their benefit. This duty

included the obligation to safeguard Plaintiff’s and Class Members’ Private Information and to

timely detect and notify Plaintiff and Class Members in the event of a data breach.

       164.    The interests of public policy mandates that a fiduciary duty is imputed given

Defendant’s acceptance of Plaintiff’s and the Class Members’ Private Information and

Defendant’s representations of its commitment to protect said Private Information.

       165.    Defendant breached the fiduciary duty that it owed to Plaintiff and Class Members

because Defendant failed to act with the utmost good faith, fairness, honesty, the highest degree

of loyalty, ultimately failed to protect the Private Information of Plaintiff and Class Members.

       166.    Defendant’s breach of fiduciary duty was a legal cause of damage to Plaintiff and

Class Members.

       167.    But for Defendant’s breach of fiduciary duty, the damage to Plaintiff and Class

Members would not have occurred.

       168.    Defendant’s breach of fiduciary duty contributed substantially to producing the

damage to Plaintiff and Class Members.

       169.    As a direct and proximate result Yale Health’s breaches of its fiduciary duties,

Plaintiff and Class Members have suffered or will suffer concrete injury, including, but not limited

to: (a) actual identity theft; (b) the loss of the opportunity to determine how and when their Private

Information is used; (c) the unauthorized access, acquisition, appropriation, disclosure,

encumbrance, exfiltration, release, theft, use, and/or viewing of their Private Information; (d) out-

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of-pocket expenses associated with the prevention, detection, and recovery from identity theft

and/or unauthorized use of their Private Information; (e) lost opportunity costs associated with

efforts expended and the loss of productivity addressing and attempting to mitigate the actual and

future consequences of the Data Breach, including but not limited to efforts spent researching how

to prevent, detect, contest, and recover from identity theft; (f) the continued risk to their Private

Information, which remains in Yale Health’s possession and is subject to further unauthorized

disclosures so long as Yale Health fails to undertake appropriate and adequate measures to protect

Private Information in its continued possession and ensure that it retains vendors who adequately

protect Private Information; (g) future costs in terms of time, effort, and money that will be

expended to prevent, detect, and repair the impact of the Private Information compromised as a

direct and traceable result of the Data Breach for the remainder of the lives of Plaintiff and Class

Members; and (h) nominal damages.

       170.    As a direct and proximate result of Yale Health breaches of its fiduciary duties,

Plaintiff and Class Members have suffered and will continue to suffer other forms of injury and/or

harm, and other economic and non-economic losses.

                                V.  FIFTH CAUSE OF ACTION
                                 Breach of Implied Contract
                       (On Behalf of Plaintiff and the Nationwide Class)

       171.    Plaintiff re-alleges and incorporates by reference the foregoing paragraphs of the

Complaint as if fully set forth herein.

       172.    Through their course of conduct, Defendant, Plaintiff, and Class Members entered

into contracts for the provision of medical care, as well as implied contracts for Defendant to

implement data security adequate to safeguard and protect the privacy of Plaintiff’s and Class

Members’ Private Information.

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          173.   Specifically, Plaintiff and Class Members entered into valid and enforceable

implied contracts with Defendant when they first applied for or obtained medical care from Yale

Health.

          174.   The valid and enforceable implied contracts to provide medical care that Plaintiff

and Class Members entered into with Defendant include the promise to protect non-public Private

Information given to Defendant or that Defendant creates on its own from disclosure.

          175.   When Plaintiff and Class Members provided their Private Information to Defendant

in exchange for medical care, they entered into implied contracts with Defendant pursuant to which

Defendant agreed to reasonably protect such information.

          176.   Defendant solicited and invited Class Members to provide their Private Information

as part of Defendant’s regular business practices. Plaintiff and Class Members accepted

Defendant’s offers and provided their Private Information to Defendant.

          177.   In entering into such implied contracts, Plaintiff and Class Members reasonably

believed and expected that Defendant’s data security practices complied with relevant laws and

regulations, including HIPAA, and were consistent with industry standards.

          178.   Class Members who paid money to Defendant reasonably believed and expected

that Defendant would use part of those funds to obtain adequate data security. Defendant failed to

do so.

          179.   Under the implied contracts, Defendant promised and was obligated to: (a) provide

medical care to Plaintiff and Class Members; and (b) protect Plaintiff’s and the Class Members’

PII/PHI: provided to obtain such healthcare services; and/or created as a result of providing such

services. In exchange, Plaintiff and Members of the Class agreed to pay money for these medical

services, and to turn over their Private Information.

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       180.    Both the provision of medical care and the protection of Plaintiff’s and Class

Members’ Private Information were material aspects of these implied contracts.

       181.    The implied contracts for the provision of medical care —contracts that include the

contractual obligations to maintain the privacy of Plaintiff’s and Class Members’ Private

Information—are also acknowledged, memorialized, and embodied in multiple documents,

including (among other documents) Defendant’s online privacy policies.

       182.    Defendant’s express representations memorialize and embody the implied

contractual obligation requiring Defendant to implement data security adequate to safeguard and

protect the privacy of Plaintiff’s and Class Members’ Private Information.

       183.    Consumers of healthcare value their privacy, the privacy of their dependents, and

the ability to keep their Private Information associated with obtaining healthcare private. To

Plaintiff and Class Members, healthcare services that do not adhere to industry standard data

security protocols to protect Private Information is fundamentally less useful and less valuable

than healthcare that adheres to industry-standard data security. Plaintiff and Class Members would

not have entrusted their Private Information to Defendant and/or its customers and entered into

these implied contracts with Defendant without an understanding that their Private Information

would be safeguarded and protected or entrusted their Private Information to Defendant in the

absence of its implied promise to monitor its computer systems and networks to ensure that it

adopted reasonable data security measures.

       184.    A meeting of the minds occurred, as Plaintiff and Members of the Class agreed to

and did provide their Private Information to Defendant, and paid for the provided services in

exchange for, amongst other things, both the provision of healthcare services and the protection of

their Private Information.

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       185.    Plaintiff and Class Members performed their obligations under the contract when

they paid for their medical care and provided their Private Information.

       186.    Defendant materially breached its contractual obligation to protect the non-public

Private Information Defendant gathered when the sensitive information was accessed by

unauthorized personnel as part of the Data Breach.

       187.    Defendant materially breached the terms of the implied contracts. Defendant did

not maintain the privacy of Plaintiff’s and Class Members’ Private Information as evidenced by

its notifications of the Data Breach to Plaintiff and approximately 5.5 million Class Members.

Specifically, Defendant did not comply with industry standards, standards of conduct embodied in

statutes like HIPAA and Section 5 of the FTCA or otherwise protect Plaintiff’s and the Class

Members’ Private Information, as set forth above.

       188.    The Data Breach was a reasonably foreseeable consequence of Defendant’s actions

in breach of these contracts.

       189.    As a result of Defendant’s failure to fulfill the data security protections promised

in these contracts, Plaintiff and Members of the Class did not receive the full benefit of the bargain

and, instead, received medical services that were of a diminished value to that described in the

contracts. Plaintiff and Class Members therefore were damaged in an amount at least equal to the

difference in the value of the medical services with data security protection they paid for and the

medical services they received.

       190.    Had Defendant disclosed that its security was inadequate or that it did not adhere

to industry-standard security measures, neither the Plaintiff, the Class Members, nor any

reasonable person would have paid money to Defendant for medical care.

       191.    As a direct and proximate result of the Data Breach, Plaintiff and Class Members

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have been harmed and have suffered, and will continue to suffer, actual damages and injuries,

including without limitation the release and disclosure of their Private Information, the loss of

control of their Private Information, the imminent risk of suffering additional damages in the

future, disruption of their medical care, out-of-pocket expenses, and the loss of the benefit of the

bargain they had struck with Defendant.

       192.    Plaintiff and Class Members are entitled to compensatory and consequential

damages suffered as a result of the Data Breach.

       193.    Plaintiff and Class Members are also entitled to injunctive relief requiring

Defendant to, e.g., (i) strengthen its data security systems and monitoring procedures; (ii) submit

to future annual audits of those systems and monitoring procedures; and (iii) immediately provide

adequate credit and identity monitoring to all Class Members.

                             VI. SIXTH CAUSE OF ACTION
                           Declaratory Judgment/Injunctive Relief
                       (On Behalf of Plaintiff and the Nationwide Class)

       194.    Plaintiff re-alleges and incorporates by reference the foregoing paragraphs of the

Complaint as if fully set forth herein.

       195.    Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court is

authorized to enter a judgment declaring the rights and legal relations of the parties and grant

further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here,

that are tortious and violate the terms of the federal and state statutes described in this Complaint.

       196.    An actual controversy has arisen in the wake of the Data Breach regarding

Plaintiff’s and Class Members’ Private Information and whether Defendant is currently

maintaining data security measures adequate to protect Plaintiff and Class Members from further

data breaches that compromise their Private Information. Plaintiff alleges that Defendant’s data

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security measures remain inadequate.

       197.    Defendant’s cybersecurity incident demonstrates the need for injunctive relief for

Plaintiff and Class Members. Defendant has not implemented measures to protect Private

Information, leaving Plaintiff and Class Members without a way of protecting themselves.

       198.    Plaintiff and Class Members continue to suffer injuries as result of the compromise

of their Private Information and remain at imminent risk that further compromises of their Private

Information will occur in the future.

       199.    Pursuant to its authority under the Declaratory Judgment Act, this Court should

enter a judgment declaring, among other things, the following: (a) Defendant owes a legal duty to

secure Plaintiff’s and Class Members’ Private Information, and to timely notify impacted

individuals of a data breach under the common law, Section 5 of the FTCA, HIPAA, and various

state statutes, and (b) Defendant continues to breach this legal duty by failing to employ reasonable

measures to secure Private Information in its possession.

               a.      Order Defendant to provide lifetime credit monitoring and identity theft

       insurance to Plaintiff and Class Members.

               b.      Order that, to comply with Defendant’s explicit or implicit contractual

       obligations and duties of care, Defendant must implement and maintain reasonable security

       and monitoring measures, including, but not limited to:

                       i.      prohibiting Defendant from engaging in the wrongful and unlawful

               acts alleged herein;

                       ii.     requiring Defendant to protect, including through encryption, all

               data collected through the course of business in accordance with all applicable

               regulations, industry standards, and federal, state or local laws;

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                 iii.    requiring Defendant to delete and purge the Private Information of

      Plaintiff and Class Members unless Defendant can provide to the Court reasonable

      justification for the retention and use of such information when weighed against the

      privacy interests of Plaintiff and Class Members;

                 iv.     requiring Defendant to implement and maintain a comprehensive

      Information Security Program designed to protect the confidentiality and integrity

      of Plaintiff’s and Class Members’ Private Information;

                 v.      requiring Defendant to engage independent third-party security

      auditors and internal personnel to run automated security monitoring, simulated

      attacks, penetration tests, and audits on Defendant’s systems on a periodic basis;

                 vi.     prohibiting Defendant from maintaining Plaintiff’s and Class

      Members’ Private Information on a cloud-based database until proper safeguards

      and processes are implemented;

                 vii.    requiring Defendant to segment data by creating firewalls and

      access controls so that, if one area of Defendant’s network is compromised, hackers

      cannot gain access to other portions of Defendant’s systems;

                 viii.   requiring Defendant to conduct regular database scanning and

      securing checks;

                 ix.     requiring Defendant to monitor ingress and egress of all network

      traffic;

                 x.      requiring Defendant to establish an information security training

      program that includes at least annual information security training for all

      employees, with additional training to be provided as appropriate based upon the

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               employees’ respective responsibilities with handling Private Information, as well

               as protecting the Private Information of Plaintiff and Class Members;

                      xi.     requiring Defendant to implement a system of tests to assess its

               respective employees’ knowledge of the education programs discussed in the

               preceding subparagraphs, as well as randomly and periodically testing employees’

               compliance with Defendant’s policies, programs, and systems for protecting

               personal identifying information;

                      xii.    requiring Defendant to implement, maintain, review, and revise as

               necessary a threat management program to appropriately monitor Defendant’s

               networks for internal and external threats, and assess whether monitoring tools are

               properly configured, tested, and updated; and

                      xiii.   requiring Defendant to meaningfully educate all Class Members

               about the threats that it faces because of the loss of its confidential personal

               identifying information to third parties, as well as the steps affected individuals

               must take to protect themselves.

       200.    If an injunction is not issued, Plaintiff and Class Members will suffer irreparable

injury, and lack an adequate legal remedy, in the event of another data breach at, or implicating,

Defendant. The risk of another such breach is real, immediate, and substantial. If another breach

occurs, Plaintiff and Class Members will not have an adequate remedy at law because many of the

resulting injuries are not readily quantified and they will be forced to bring multiple lawsuits to

rectify the same conduct.

       201.    The hardship to Plaintiff and Class Members if an injunction is not issued exceeds

the hardship to Defendant if an injunction is issued. Plaintiff and Class Members will likely be

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subjected to substantial identity theft and other damage. On the other hand, the cost to Defendant

of complying with an injunction by employing reasonable prospective data security measures is

relatively minimal, and Defendant has a pre-existing legal obligation to employ such measures.

       202.    Issuance of the requested injunction will not disserve the public interest. In contrast,

such an injunction would benefit the public by preventing another data breach at Defendant, thus

eliminating the additional injuries that would result to Plaintiff and Class Members whose

confidential information would be further compromised.

                                       PRAYER FOR RELIEF

       WHEREFORE Plaintiff, on behalf of herself and all others similarly situated, request the

following relief:

       A.     An Order certifying this action as a class action and appointing Plaintiff as the Class

              Representative;

       B.     A mandatory injunction directing Defendant to adequately safeguard the PII and PHI

              of Plaintiff and the Class hereinafter by implementing improved security procedures

              and measures, including but not limited to an Order:

                    i.   prohibiting Defendant from engaging in the wrongful and unlawful acts

                         described herein;

                ii.      requiring Defendant to protect, including through encryption, all data

                         collected through the course of business in accordance with all applicable

                         regulations, industry standards, and federal, state or local laws;

               iii.      requiring Defendant to delete and purge the PII and PHI of Plaintiff and

                         Class Members unless Defendant can provide to the Court reasonable

                         justification for the retention and use of such information when weighed

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             against the privacy interests of Plaintiff and Class Members;

      iv.    requiring Defendant to implement and maintain a comprehensive

             Information Security Program designed to protect the confidentiality and

             integrity of Plaintiff’s and Class Members’ PII and PHI;

       v.    requiring Defendant to engage independent third-party security auditors and

             internal personnel to run automated security monitoring, simulated attacks,

             penetration tests, and audits on Defendant’s systems on a periodic basis;

      vi.    prohibiting Defendant from maintaining Plaintiff’s and Class Members’

             PII and PHI on a cloud-based database until proper safeguards and processes

             are implemented;

     vii.    requiring Defendant to segment data by creating firewalls and access

             controls so that, if one area of Defendant’s network is compromised,

             hackers cannot gain access to other portions of Defendant’s systems;

     viii.   requiring Defendant to conduct regular database scanning and securing

             checks;

      ix.    requiring Defendant to monitor ingress and egress of all network traffic;

       x.    requiring Defendant to establish an information security training program

             that includes at least annual information security training for all employees,

             with additional training to be provided as appropriate based upon the

             employees’ respective responsibilities with handling PII and PHI, as well

             as protecting the PII and PHI of Plaintiff and Class Members;

      xi.    requiring Defendant to implement a system of tests to assess their respective

             employees’ knowledge of the education programs discussed in the

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             preceding subparagraphs, as well as randomly and periodically testing

             employees’ compliance with Defendant’s policies, programs, and systems

             for protecting personal identifying information;

      xii.   requiring Defendant to implement, maintain, review, and revise as

             necessary a threat management program to appropriately monitor

             Defendant’s networks for internal and external threats, and assess whether

             monitoring tools are properly configured, tested, and updated; and

     xiii.   requiring Defendant to meaningfully educate all Class Members about the

             threats that they face because of the loss of its confidential personal

             identifying information to third parties, as well as the steps affected

             individuals must take to protect themselves.

C.   A mandatory injunction requiring that Defendant provide notice to each member of

     the Class relating to the full nature and extent of the Data Breach and the disclosure

     of PII and PHI to unauthorized persons;

D.   Enjoining Defendant from further deceptive practices and making untrue statements

     about the Data Breach and the stolen PII and PHI;

E.   An award of damages, including actual, nominal, consequential damages, and

     punitive, as allowed by law in an amount to be determined;

F.   An award of attorneys’ fees, costs, and litigation expenses, as allowed by law;

G.   An award of pre- and post-judgment interest, costs, attorneys’ fees, expenses, and

     interest as permitted by law;

H.   Granting the Plaintiff and the Class leave to amend this Complaint to conform to the

     evidence produced at trial;

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I.    For all other Orders, findings, and determinations identified and sought in this

      Complaint; and

J.    Such other and further relief as this court may deem just and proper.

                           JURY TRIAL DEMANDED

Plaintiff demands a trial by jury for any and all issues in this action so triable as of right.


Dated: April 30, 2025                        Respectfully Submitted,

                                             /s/   Brian P. Murray

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